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     ATTACHMENT 1
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Beneficiarv   Year           Amount        Beneficiart Year           Amount       Beneficiarv   Year          Amount
A                     1996     $3,366.00   C1                  1996     $918,80    C2                   1996    $913.80
                      1997    $12,054.00                       1997        $0.00                        1997   $3,290.00
                      1998     $5,789.80                       1998        $0.00                        1998    $482.00
                      1999         $0.00                       1999        $0.00                        1999       $0.00
                      2000         $0.00                       2000        $0.00                        2000       $0.00
                      2001         $0.00                       2001        $0.00                        2001       $0.00
                      2002         $0.00                       2002        $0.00                        2002       $0.00
                      2003    $67,671.90                      '2003        $0.00                        2003       $0.00
                      2004    $27,428.95                       2004    $4,950.00                        2004       $0.00
                      2005    $13,574.40                       2005    $6,780.00                        2005       $0.00
                      2006    $14,130.00                       2006    $7,056.00                        2006       $0.00
                      2007    $14,586.00                       2007    $1,824.00                        2007       $0.00
                      2008    $14,920.80                       2008        $0.00                        2008       $0.00
                      2009    $15,784.80                       2009        $0.00                        2009       $0.00
                      2010    $15,786.00                       2010        $0.00                        2010       $O.QO
                      2011     $1,219.00                       2011        $0.00                        2011       $0.00

                             $206,311.65                              $21,528.80                               $4,690.80

Total Benefits Paid          $232,531.25




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